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AO 245B       (Rev. 09/08) Judgment in a Criminal Case
              Sheet I



                                         UNITED STATES DISTRICT COURT
                                                         MIDDLE District of ALABAMA

             UNITED STATES OF AMERICA                                              JUDGMENT IN A CRIMINAL CASE
                                  V.


             MICHAEL DEANGELO HOBDY                                                Case Number:              1 :08cr236-05-MHT

                                                                                                                  (WO)

                                                                                   USM Number:               12602-002

                                                                                      William R. Blanchard, Jr.
                                                                                      Defendant's Attorney
THE DEFENDANT:
X pleaded guilty to count(s)        One of the Superseding Indictment on April 22, 2009
U pleaded nob contendere to count(s)
  which was accepted by the court.
U was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                             Offense Ended              Count
21 USC 846                       Conspiracy to Possess with Intent to Distribute and to Distribute             1/27/2008                    is
                                  Cocaine Hydrochloride, Cocaine Base, and Marijuana




       The defendant is sentenced as provided in pages 2 through                  6          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
O The defendant has been found not guilty on count(s)

X Count(s)       1,28, and 34 of the Original              0 is       X are dismissed on the motion of the United States.
      Indictment and 28s and 34s of the Superseding Indictment
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay- restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.


                                                                           Date of Imposition of Judgment




                                                                                  uofJu




                                                                           MYRON H. THOMPSON, UNITED STATES DISTRICT JUDGE
                                                                           Name and Title of Judge



                                                                           Datj
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AO 245B      (Rev. 09/08) Judgment in Criminal Case
             Sheet 2 - Imprisonment

                                                                                                         Judgment Page    2       of   6
DEFENDANT:                      MICHAEL DEANGELO HOBDY
CASE NUMBER:                    1 :08cr236-05-MHT


                                                                IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:


51 Months.



    X The court makes the following recommendations to the Bureau of Prisons:
          The court recommends that the defendant be designated to a facility where intensive drug treatment is available.
          The court recommends that the defendant be designated to a facility where he may receive vocational training.
          The court recommends that the defendant be designated to a facility where he may pursue his G.E.D.


    X The defendant is remanded to the custody of the United States Marshal.

    LI The defendant shall surrender to the United States Marshal for this district:

          LI at                                       LI a.m.     Li p.m.         on
          Li as notified by the United States Marshal.

    LI The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          LI before 2 p.m. on

          Li as notified by the United States Marshal.
          LI as notified by the Probation or Pretrial Services Office.



                                                                      RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                            to
a                                                      , with a certified copy of this judgment.



                                                                                                      UNITED STATES MARSHAL


                                                                             By
                                                                                                   DEPUTY UNITED STATES MARSHAL
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AO 245B      (Rev. 09/08) Judgment in a Criminal Case
             Sheet 3 - Supervised Release
                                                                                                           Judgment—Page       3     of        6
DEFENDANT:                     MICHAEL DEANGELO HOBDY
CASE NUMBER:                   1 :08cr236-05-MHT
                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
3 Years.

         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
 13 The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
      future substance abuse. (Check, (f applicable.)
X The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, ([applicable.)
X The defendant shall cooperate in the collection of DNA as directed by the probation officer. ('C'heck, ([applicable.)

        The defendant shall comply with the requirements of the Sex Offender Registration and ,Notification Act (42 U.S.C. § 16901, et seq.)
        as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
        works, is a student, or was convicted of a qualifying offense. (('heck, ([applicable.)

 13 The defendant shall participate in an approved program for domestic violence. (Check, ([applicable.)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
   1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)     the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
   3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)     the defendant shall support his or her dependents and meet other family responsibilities;
   5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
   6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and

 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
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AO 245B    (Rev. 09/08) Judgment in a Criminal Case
           Sheet 3C - Supervised Release

                                                                                             Judgment—Page    4    of          6
DEFENDANT:                 MICHAEL DEANGELO HOBDY
CASE NUMBER:               1 :08cr236-05-MHT

                                         SPECIAL CONDITIONS OF SUPERVISION
1. The defendant shall participate in a program approved by the United States Probation Office for substance abuse, which
may include testing to determine whether he has reverted to the use of drugs. The defendant shall contribute to the cost of
any treatment based on ability to pay and the availability of third-party payments.
2. The defendant shall participate in a vocational training program approved by the United States Probation Office.
3. The defendant shall diligently purse his G.E.D.
4. The defendant shall participate in a program for parenting skills and family planning.
5. The defendant shall submit to a search of his person, residence, office and vehicle pursuant to the search policy of this
court.
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AO 245B    (Rev. 09/08) Judgment in a Criminal Case
           Sheet 5 - Criminal Monetaly Penalties
                                                                                                        Judgment—Page        5   of       6
DEFENDANT:                         MICHAEL DEANGELO HOBDY
CASE NUMBER:                       1 :08cr236-05-MHT
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                           Fine                                Restitution
TOTALS             $ 100.00                                            $                                   $


 Li The determination of restitution is deferred until            -    An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

 Li The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment colunm below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                  Total Loss*                        Restitution Ordered                   Priority or Percentage




TOTALS                                                                        $


Li Restitution amount ordered pursuant to plea agreement $

Li The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(1). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

Li The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      Li the interest requirement is waived for the            Li fine Li restitution.
      Li the interest requirement for the             Li fine Li restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 1 09A, 110, 11 OA, and 11 3A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
AO 245B
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             (Rev. 09/08) Judgment in a Criminal Case
             Sheet 6— Schedule of Payments
                                                                                                                Judgment - Page      6     of           6
DEFENDANT:                    MICHAEL DEANGELO HOBDY
CASE NUMBER:                  1 :08cr236-05-MHT

                                                        SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A x Lump sum payment of$ 100.00                                  due immediately, balance due

             Li not later than                                        , or
             x in accordance                    C, Li D, LI E, or x F below; or

B LI Payment to begin immediately (may be combined with                       []C,         [I] D, or [I] F below); or

C         J Payment in equal                        (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                        - (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D LI Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                          over a period of
    --              (e.g., months or years), to commence         - ----------  (e.g., 30 or 60 days) after release from imprisonment  to a
      term of supervision; or

E [I] Payment during the term of supervised release will commence within --                  (e.g., 30 or 60 days) after release from
         imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F x Special instructions regarding the payment of criminal monetary penalties:
             All criminal monetary penalty payments shall be made to the Clerk, United States District Court, Middle District of Alabama, Post
             Office Box 711, Montgomery, Alabama 36101.




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment ofcriminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Pnsons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 Li Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 Li The defendant shall pay the cost of prosecution.

 Li The defendant shall pay the following court cost(s):

 Li The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
